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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

CHARLES LAW,                                    §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §   CIVIL ACTION NO. 4:16-cv-1070
                                                §
MEDICREDIT, INC.,                               §
                                                §
       Defendant.                               §

              DEFENDANT MEDICREDIT, INC.’S NOTICE OF REMOVAL

       Defendant Medicredit, Inc. (“Medicredit” or “Defendant”) hereby files its Notice of

Removal of the above-captioned case to this Court and, and in support of removal, respectfully

states as follows:

       1.      Medicredit is named as a defendant in Civil Action No. 2016-006642-3, filed in

County Court at Law No. 3 of Tarrant County, Texas, styled Charles Law v. Medicredit, Inc. (the

“State Court Action”).

       2.      The Petition in the State Court Action was filed with the Clerk of the State Court

on or about November 4, 2016. In the State Court Action, Plaintiff alleges that Defendant

violated a federal statute, the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et. seq.

(“FDCPA”).

       3.      Any civil action is removable if the plaintiff could have originally brought the

action in federal court. See 28 U.S.C. § 1441(a).

       4.      Under 28 U.S.C. § 1331, this Court has original federal question jurisdiction over

Plaintiff’s FDCPA claim.




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        5.      Accordingly, pursuant to 28 U.S.C. § 1441(a), Defendant has the right to remove

the State Court Action to this Court, without regard to the citizenship or residency of the parties

or the amount in controversy.

        6.      Defendant was formally served with the Summons and Petition on November 14,

2016. This removal is therefore timely pursuant to 28 U.S.C. § 1446(b).

        7.      Pursuant to Local Rule 81.1, attached hereto as Exhibit A is the Register of

Actions from the State Court Action. Attached hereto as Exhibit B is an index of documents

filed in the State Court Action, along with copies of the documents filed in the State Court

Action. Defendant’s Certificate of Interested Persons will be filed separately and, in addition, is

attached hereto as Exhibit C. A copy of this Notice of Removal is also being filed with the

Clerk of the State Court in which the State Court Action was filed.

        8.      By this Notice of Removal, Defendant does not waive any defense, jurisdictional

or otherwise, which it may possess. Defendant also does not concede that Plaintiff has stated a

claim against it.

        WHEREFORE, in accordance with the authorities set forth above, Defendant hereby

removes this action from County Court at Law No. 3 for Tarrant County, Texas, to the United

States District Court for the Northern District of Texas.


        Dated this 21st day of November, 2016.




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                                           Respectfully submitted,

                                           /s/ Jeremy W. Hays
                                           JEREMY W. HAYS
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                                           ATTORNEYS FOR DEFENDANT
                                           MEDICREDIT, INC.




                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was filed electronically with the United
States District Court for the Northern District of Texas, Fort Worth Division, this 21st day of
November, 2016, with a true copy mailed, first class postage prepaid, to:

       Gabriel Meyrat
       P.O. Box 570396
       Dallas, TX 75357
       Phone: 214-403-5928
                                               /s/ Jeremy W. Hays
                                               Jeremy W. Hays




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